 Case 1:05-cr-00095-IMK Document 250 Filed 06/09/08 Page 1 of 7 PageID #: 941




                    IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


BLAIR R. JONES, JR.,

               Petitioner,

v.                                                           Civil Action No. 1:07cv115
                                                             Criminal Action No. 1:05cr95-1
                                                             (Judge Keeley)

UNITED STATES OF AMERICA

               Respondent.

                      OPINION/REPORT AND RECOMMENDATION

       On August 30, 2007, the pro se petitioner field a Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside or Correct Sentence by a Person in Federal Custody. This case is before the

undersigned for a preliminary review and report and recommendation pursuant to LR PL P

83.01, et seq., and Standing Order No. 4.

I.     Procedural History

A.     Conviction and Sentence

       On June 22, 2006, the petitioner signed a plea agreement by which he agreed to plead

guilty to Count One of the Indictment, continuing a criminal enterprise, in violation of Title 21,

United States Code, Sections 848 and 841(b)(1)(A). See Plea Agreement (dckt.168) ¶ 1.

Additionally, the petitioner’s plea agreement contained the following language regarding waiver:

               Mr. Jones is aware that Title 18, United States Code, Section 3742
               affords a defendant the right to appeal the sentence imposed.
               Acknowledging all this, and in exchange for the concessions made
               by the United States in the plea agreement. The defendant knowingly
               and voluntarily waives the right to appeal his sentence or the manner
               in which that sentence was determined on any ground whatsoever,
               including those grounds set forth in Title 18, United States Code,
               Section 3742. The defendant also waives his right to challenge his
Case 1:05-cr-00095-IMK Document 250 Filed 06/09/08 Page 2 of 7 PageID #: 942




                   sentence or the manner in which it was determined in any collateral attack,
                   including but not limited to, a motion brought under Title 28, United
                   States Code, Section 2255 (habeas corpus). In exchange for the
                   defendant’s waiver, the United States waives its right to appeal the
                   sentence. In the event that there would be an appeal however, such
                   party reserves the right to argue in support of the sentence.

Id. at ¶ 8.

        On June 27, 2006, the petitioner entered his plea in open court. The Court specifically

asked if the petitioner understood the waiver of appellate and post-conviction rights.1 The Court


        1
              At the Rule 11 hearing, the following exchange took place:

                   THE COURT: All right. Now under the terms of this plea agreement
                   you are also waiving or giving up your right to appeal a sentence of two
                   hundred and forty months if that is the sentence that the Court imposes
                   on you. That is paragraph eight, which is found on page five of your
                   plea agreement. Were you aware that paragraph was in there?

                   THE DEFENDANT: Yes ma’am

                   THE COURT: And is that something that you have agreed to?

                   THE DEFENDANT: Yes ma’am

                   THE COURT: Do you understand that that waiver also covers your
                   habeas corpus rights, which would mean that if you filed a petition
                   under 2255 of 28 United States Code, Section 2255, to have this
                   Court take another look at what happened in your case, the waiver
                   would bar that, I couldn’t do it?

                   THE DEFENDANT: Yes ma’am.

Plea Transcript (dckt. 228) p. 13.

Additionally, at the sentencing hearing, the Court stated the following:

                   THE COURT: The waiver also covered your right to file what’s
                   called a petition for writ of habeas corpus to collaterally attack the
                   sentence and that is usually done in the Federal system by filing what’s
                   called a 2255 petition. Have you heard of these?

                   THE DEFENDANT: No ma’am.
Case 1:05-cr-00095-IMK Document 250 Filed 06/09/08 Page 3 of 7 PageID #: 943




asked petitioner’s counsels if they believed petitioner understood the waiver of appellate and

post-conviction relief rights. Id. at 27. Petitioner stated that he understood and agreed with all the

terms and conditions of the plea agreement. Id. at 19. The Court then reviewed all the rights

petitioner was giving up by pleading guilty Id. at pp.24-27. During the plea hearing, the

Government presented the testimony of Brian Fox, Special Agent, Federal Bureau of

Investigation to establish the factual basis for the plea. Id. at 28-36. The petitioner did not

contest the factual basis of the plea. After the Government presented the factual basis for the

plea, the petitioner advised the Court that he was guilty of Count One of the Indictment. Id. at

37. The petitioner testified that his attorney had adequately represented him, and that his attorney

had left nothing undone. Id. at 48.

       At the conclusion of the hearing, the Court determined that the plea was made freely and

voluntarily and that the petitioner understood the consequences of pleading guilty. Id. at pp. 48-

49. The petitioner did not object to the Court’s findings.

       On September 25, 2006, the petitioner appeared before the Court where he received a

sentence of 240 months and five years of supervised release.

B.     Appeal


               THE COURT: Okay. Well those are habeas petitions for Federal
               prisoners attacking Federal sentences but you waived or gave up
               your right to file one of those as well in order to get the sentence
               of two hundred and forty months and the binding plea. Okay?

               THE DEFENDANT: Yes ma’am.

               THE COURT: Do you have any questions about any of this at all?

               THE DEFENDANT: No ma’am.

See Sentencing Transcript (dckt. 228) pp 70-71.
Case 1:05-cr-00095-IMK Document 250 Filed 06/09/08 Page 4 of 7 PageID #: 944




        The petitioner did not pursue a direct appeal.

C.      Federal Habeas Corpus

        Petitioner’s Contentions

        (1) Ineffective assistance of counsel for

                (a) failing to file a motion for a suppression hearing;

                (b) failing to file a motion for continuance regarding the suppression hearing;

                (c) coercing petitioner into signing the plea agreement; and

                (d) failing to preserve petitioner’s appellate and post-conviction rights of appeal.

II.    Analysis

        Waiver of Post-Conviction Rights

        “[T]he guilty plea and the often concomitant plea bargain are important components of this

country’s criminal justice system. Properly administered, they can benefit all concerned.”

Blackledge v. Allison, 431 U.S. 63, 71 (1977). However, the advantages of plea bargains “can be

secure . . . only if dispositions by guilty plea are accorded a great measure of finality.” Id. “To this

end, the Government often secures waivers of appellate rights from criminal defendants as part of

their plea agreement.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).

        In United States v. Attar, 38 F.3d 727 (4th Cir. 1994), the Fourth Circuit found that “a waiver-

of-appeal-rights provision in a valid plea agreement is enforceable against the defendant so long as

it is the result of a knowing and intelligent decision to forgo the right to appeal.” Attar at 731. The

Fourth Circuit then found that whether a waiver is knowing and intelligent “depends upon the

particular facts and circumstances surrounding [its making], including the background, experience,

and conduct of the accused.” Id. After upholding the general validity of a waiver-of-appeal-rights

provision, the Fourth Circuit noted that even with a waiver-of-appeals-rights provision, a defendant
Case 1:05-cr-00095-IMK Document 250 Filed 06/09/08 Page 5 of 7 PageID #: 945




may obtain appellate review of certain limited grounds. Id. at 732. For instance, the Court noted that

a defendant “could not be said to have waived his right to appellate review of a sentence imposed

in excess of the maximum penalty provided by statute or based on a constitutionally impermissible

factor such as race.” Id. Nor did the Court believe that a defendant “can fairly be said to have

waived his right to appeal his sentence on the ground that the proceedings following the entry of the

guilty plea were conducted in violation of the Sixth Amendment right to counsel.” Id.

       Subsequently, in United States v. Lemaster, supra, the Fourth Circuit saw no reason to

distinguish between waivers of direct appeal rights and waivers of collateral attack rights. Lemaster,

403 F.3d at 220. Therefore, like waiver-of-appeal-rights provision, the Court found that the waiver

of the right to collaterally attack a sentence is valid as long as it is knowing and voluntary. Id. And,

although, the Court expressly declined to address whether the same exceptions apply since Lemaster

failed to make such an argument, the Court stressed that it “saw no reason to distinguish between

waivers of direct-appeal rights and waivers of collateral-attack rights.” Id. at n. 2.

       Based on these cases, it appears that ineffective assistance of counsel (“IAC”) claims are

barred by a valid waiver, to the extent that the facts giving rise to the claims occurred prior to the

defendant entering his guilty plea. Only claims arising after the entry of the guilty plea may fall

outside the scope of the waiver. Lemaster, 403 F.3d at 732 (it cannot be fairly said that a defendant

“waived his right to appeal his sentence on the ground that the proceedings following entry of the

guilty plea were conducted in violation of the Sixth Amendment right to counsel, for a defendant’s

agreement to waive appellate review of his sentence is implicitly conditioned on the assumption that

the proceedings following entry of the plea will be conducted in accordance with constitutional

limitations”).

       Therefore, when reviewing an ineffective assistance of counsel claim in a case where there
Case 1:05-cr-00095-IMK Document 250 Filed 06/09/08 Page 6 of 7 PageID #: 946




is a waiver of collateral-attack rights in a plea agreement, we must first determine whether there is

valid waiver. In doing so,

               The validity of an appeal waiver depends on whether the defendant
               knowingly and intelligently agreed to waive the right to appeal.
               Although this determination is often made based on adequacy of the
               plea colloquy -- specifically, whether the district court questioned the
               defendant about the appeal waiver – the issue ultimately is evaluated
               by reference to the totality of the circumstances. Thus, the
               determination must depend, in each case, upon the particular facts
               and circumstances surrounding that case, including the background,
               experience, and conduct of the accused.

United States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005) (internal citations and quotations omitted).

In other words, the Court must examine the actual waiver provision, the plea agreement as a whole,

the plea colloquy, and the defendant’s ability to understand the proceedings. Id. If the Court finds

that the waiver is valid, any IAC claims arising prior to the plea agreement are barred by the waiver.

        Here, the undersigned finds that the petitioner knowingly and intelligently waived his appeal

and collateral attack rights. At both the Rule 11 and sentencing hearing, the Court specifically

addressed the issue of the waiver with the petitioner. At both proceedings, petitioner stated

affirmatively that he understood the waiver. Moreover, all of the petitioner’s claims arise prior to

sentencing. Thus, the claims raised in the instant petition are all barred by the valid waiver

contained in the plea agreement.

III.   Recommendation

        Based upon a review of the record, the undersigned recommends that the petitioner’s §2255

motion be DENIED and DISMISSED from the Court’s active docket because the petitioner

knowingly, intelligently, and voluntarily waived the right to collaterally attack the conviction.

        Within ten (10) days after being served with a copy of this report and recommendation, any

party may file with the Clerk of Court written objections identifying those portions of the
Case 1:05-cr-00095-IMK Document 250 Filed 06/09/08 Page 7 of 7 PageID #: 947




recommendation to which objection is made and the basis for such objections. A copy of any

objections shall also be submitted to the Honorable Irene M. Keeley, United States District Judge.

Failure to timely file objections to this recommendation will result in waiver of the right to appeal

from a judgment of this Court based upon such recommendation. 28 U.S.C. § 636(b)(1); Thomas

v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v.

Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

       The Clerk is directed to send a copy of this Opinion/Report and Recommendation to the pro

se petitioner by certified mail, return receipt requested, to his last known address as shown on the

docket. The Clerk is further directed to provide copies of this Opinion/Report and Recommendation

to all counsel of record, as applicable, as provided in the Administrative Procedures for Electronic

Case Filing in the United States District Court for the Northern District of West Virginia.

       DATED: June _6, 2008.
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                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE
